                                                     IN THE CIRCUIT COURT OF THE
                                                     SECOND JUDICIAL CIRCUIT, IN
                                                     AND FOR LEON COUNTY, FLORIDA

ROBERT BENBOW,                                       CASE NO. 13-CA (..      c-f Y
                                                     FLA BAR NO. 0739685
       Plaintiff,

v.

BOARD OF TRUSTEES, FLORIDA
A & M UNIVERSITY, a public body
corporate,

       Defendant.
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                                          COMPLAINT

        Plaintiff, ROBERT' BENBOW,          hereby sues Defendant, BOARD OF TRUST,EES,

FLORIDA A & M UNIVERSITY, a public body corporate, and alleges:

                                  NATURE OF THE ACTION

        1.     This is 'an action brought under Chapter 760, Florida Statutes, 42 U.S.c. §2000e et

seq. and 42 U.S.C. §1981a.

        2.      This is an action involving claims which are, individually, in excess of Fifteen

Thousand Dollars ($15,000.00), exclusive of costs and interest.

                                          THE PARTIES

        3.      At all times pertinent hereto, Plaintiff, ROBERT BENBOW, has been a resident of

 the State of Florida and was employed by Defendant. Plaintiff is a member of a protected class

 because of his national origin (American)/race, as well as his age.

        4.      At all times pertinent hereto, Defendant, BOARD OF TRUSTEES, FLORIDA A &

 M UNIVERSITY, a public body corporate, has been organized and existing, or operating, under the
laws of the State of Florida. At all times pertinent to this action, Defendant has been an "employer"

as that tenn is used under the applicable laws identified above.

       5.      Plaintiffhas satisfied all conditions precedent to bringing this action in that Plaintiff

filed a charge of discrimination with the Florida Commission ~n I-Iuman Relations and/or with the

EEOC. This action is timely brought thereafter.

                         STATEMENT OF THE ULTIMATE FACTS

        6.     Plaintiffwas initially hired by pefendant in or about 1982 and was employed as an

Instructor within the Civil and Construction Engineering Technology Programs.

        7.     In or about October 2010, Plaintiff was provided an ostensible "terminal" contract

due to accreditations requirements affecting Defendant. Plaintiff had previously been provided

"terminal" contracts that did not result in ultimate dismissal, hence it was likely that Plaintiffs

contract might not terminate.

        8.      Thereafter, and during late 2010 and through October 2011, Defendant's agents

Ohenekome Onokpise, Yves Anglade, and Malcolla Abdullah, (each non-American born) caused or

attempted to cause the full and final termination of Plaintiff's employment with Defendant and his

replacement with at least one significantly younger employee.

        9.      By way of example, the above described individuals, separately and/or in concert,

 delivered letters or other memoranda to Defendant's administration andlor accreditation bodies

 outlining deficiencies with Plaintiffs qualifications and/or academic credentials. Moreover, one or

 more ofthese individuals falsely claimed that Plaintiffhad been provided an alternative employment




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opportunity despite that Plaintiff had not been offered such opportunity or the opportunity had not

been sufficiently presented for Plaintiff's acceptance.

        10.     By way offurther example, Plaintiff was stripped ofcertain duties and responsibilities

and was provided arbitrary assigrunents, while his former duties and responsibilities were transferred

to younger employees. Moreover, Plaintiffwas placed under the assignment offully tenured faculty

that failed to supervise his work or otherwise review his work. Additionally, Plaintiff was required

to perform work without recognition or others. received recognition for his work.

        11.      Plaintiff has retained the undersigned to represent his interests in this cause and is

obligated to pay her fee for these services. Defendant should be made to pay said fee under Chapter

760, Florida Statutes, and 4-2 U.S.c. §2000e et seq ..

                                                 COUNTI

                        NATIONAL ORIGINfRACE DISCRIMINATION

         12.     Paragraphs 1 through 11 are realleged and incorporated herein by reference.

         13.     This is an action against Defendant for discrimination based upon national originirace

brought under Chapter 760, Florida Statutes, and 42 U.S.C. §2000e et seq ..

         14.     Plaintiff has been the victim of discrimination on the basis of Plaintiff s national

 originlrace in that Plaintiff was treated differently than similarly situated employees of Defendant

 who are Haitian or of Haitian descent and has been subject to hostility and poor treatment on the

 basis, at least in part, of Plaintiff s national origin.

         15.     Defendant is liable for the differential treatment and hostility towards Plaintiff

 because it controlled the actions and inactions ofthe persons making decisions affecting Plaintiff or



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it lmew or should have known of these actions and inactions and failed to take prompt and adequate

remedial action or took no action at all to prevent the abuses to Plaintiff. Furthermore, Defendant

Imowingly condoned and ratified the differential treatment ofPlaintiff as more fully set forth above

because it allowed the differential treatment and participated in same. Defendant's [mown allowance

and ratification ofthese actions and inactions actions created, perpetuated and facilitated an abusive

and offensive work environment within the meaning of the statutes referenced above.

          16.   In essence, the actions ofagents ofDefendant, which were each condoned and ratified

by Defendant, were of a national-origin/race based nature and in violation of the laws set forth

herein.

          17.   The discrimination complained of herein affected a term, condition, or privilege of

Plaintiffs continued employment with Defendant. The events set forth herein lead, at least in part,

to Plaintiffs tennination on contrived allegations.

          18.   Defendant's conduct and omissions constitutes intentional discrimination and

unlawful employment practices based upon national origin/race in violation of Chapter 760, Florida

Statutes, and 42 U.S.C. §2000e et seq ..

          19.   As a direct and proximate result ofDefendant's conduct described above, Plaintiffhas

suffered emotional distress, mental pain and suffering, past and future pecuniary losses,

 inconvenience, bodily injury, mental anguish, loss of enjoyment of life and other non-pecuniary

 losses, along with lost back and front pay, interest on pay, bonuses, and other benefits. These

 damages have occurred in the past, are permanent and continuing.




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                                            COUNT II
                                       AGE DISCRiMINATION

       20.         Paragraphs 1 through 11 are realleged and incorporated herein by reference. This

Count is pled in the alternative.

        21.        This is an action against Defendant for discrimination based upon age brought under

Chapter 760, Florida Statutes.

        22.        Plaintiff has been the victim of discrimination on the basis of Plaintiff s age in that

Plaintiff was treated differently than similarly situated younger applicants and/or employees of

Defendant and has been subject to hostility and poor treatment on the basis, at least in part, of

Plaintiff's age.

        23.        Defendant i-s liable for the differential treatment and hostility towards Plaintiff

because it controlled the actions and inactions of the persons making decisions affecting Plaintiff or

it knew or should have known of these actions and inactions and failed to take prompt and adequate

remedial-action or took no action at all to prevent the abuses to Plaintiff. Furthermore, Defendant

knowingly condoned and ratified the differential treatment of Plaintiff as more fully set forth above

because it allowed the differential treatment and participated in same. Defendantls known allowance

and ratification ofthese actions and inactions actions created, perpetuated and facilitated an abusive

and offensive work envirorunent within the meaning ofthe statute referenced above.

         24.       In essence, the actions ofagents ofDefendant, which were each condoned and ratified

 by Defendant, were of an age-based nature and in violation of the laws set forth herein.




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       25.     The discrimination complained of herein affected a term, condition, or privilege of

Plaintiffs continued employment with Defendant. The events set forth herein lead, at least in part,

to adverse employment action being taken against Plaintiff.

       26.     Defendant's conduct and omissions constitutes intentional discrimination and

unlawful employment practices based upon age in violation of Chapter 760, Florida Statutes.

       27.     As a direct and proximate result ofDefendant's conduct described above, Plaintiffhas

suffered emotional distress, mental pain and suffering, past and future pecuniary losses,

inconvenience, bodily injury, mental anguish, loss of enjoyment of life and other non-pecuniary

losses, along with lost back and front pay, interest on pay, bonuses, and other benefits. These

damages have occurred in the past, are permanent and continuing.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment against Defendant for the following:

                (a)    An injunction restraining continuing violations of the laws;

                (b)    Reinstatement to the same position that Plaintiff held before the retaliatory

                       personnel actions or to an equivalent position;

                (c)    Reinstatement of full fringe benefits and seniority rights, to the extent such

                       were available ta Plaintiff;

                (d)    Compensation far loss wages, benefits, and other remuneration;

                (e)    All damages as allowed by law;

                (f)    Attorney's fees, costs and cost of this action, and

                (g)     Any other relief deemed just and proper under the circumstances.




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                        DEMAND FOR TRIAL BY JURY

Plaintiff hereby demands a trial by jury on all issues herein that are so triable.

DATED this 1st day of March, 2013.

                                       Respectfully submitted,


                                       /s/ Marie A. Mattox
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